         Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 1 of 30




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        )
                                                )
               v.                               )   No.     1:22-mj-76 (GMH)
                                                )
ARIAN TAHERZADEH &                              )
HAIDER ALI,                                     )
                                                )
                          Defendants.           )

 GOVERNMENT’S MEMORANDUM IN SUPPORT OF MOTION FOR DETENTION

       For years, Defendants Arian Taherzadeh and Haider Ali portrayed themselves as federal

law enforcement agents involved in covert operations on behalf of the Department of Homeland

Security (DHS). They are not law enforcement agents, and they are not involved in sanctioned

covert activities. Neither Defendant is even employed by the United States government. But their

impersonation scheme was sufficiently realistic to convince other government employees,

including law enforcement agents, of their false identities. They pretended to recruit other

individuals to law enforcement and their fake operation—including shooting a person with an air

gun—and leveraged their phony law enforcement status to ingratiate themselves to other law

enforcement agents in sensitive positions. They compromised United States Secret Service

(USSS) personnel involved in protective details and with access to the White House complex by

lavishing gifts upon them, including rent-free living. And they procured, stored, and used all the

tools of law enforcement and covert tradecraft: weaponry, including firearms, scopes, and brass

knuckles; surveillance equipment, including a drone, antennae, hard drives, and hard drive copying

equipment; tools to manufacture identities, including a machine to create Personal Identification

Verification (PIV) cards and passport photographs; and tactical gear, including vests, gas masks,

breach equipment, police lights, and various law enforcement insignia.
          Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 2 of 30




         The Defendants should be detained pending trial on their impersonation scheme. Both

Defendants pose a danger to the community based on their use and possession of firearms and

other weaponry in furtherance of their impersonation of federal law enforcement officers. See 18

U.S.C. § 3142(f)(1)(E). Furthermore, Ali’s overseas travel to the Middle East, coupled with his

claim to one witness that he has a connection to the Pakistani foreign intelligence service, establish

that he poses a serious risk of risk of flight, see 18 U.S.C. § 3142(f)(2)(A); and Taherzadeh’s

efforts to destroy evidence of his involvement in the impersonation scheme after realizing he was

under investigation establishes that he poses a serious risk of obstructing justice, see 18 U.S.C. §

3142(f)(2)(B). For those reasons, as elaborated below and will be elaborated at the detention

hearing this afternoon, the government’s detention motion should be granted.

   I.       Procedural Background

         On April 5, 2022, Taherzadeh and Ali were charged by criminal complaint with False

Impersonation of a Federal Officer, in violation of 18 U.S.C. § 912 and the Court issued warrants

for their arrest. The Defendants were arrested on April 6 and made their initial appearance on

April 7. The Court scheduled a detention hearing for today, April 8, at 3:30pm.

   II.      Factual Background

         The Court is aware of the relevant facts as set forth in the criminal complaint and affidavit

(D.E. 1). The Government adopts those facts for purposes of this memo. The additional facts set

forth below are part of the Government’s ongoing investigation, which began less than two weeks

ago.

                                          Search Warrant

         On April 6, 2022, subsequent to the criminal complaint and issuance of the arrest warrants,

law enforcement executed a search warrant at an apartment complex in Southeast Washington,




                                                  2
         Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 3 of 30




D.C., where the Defendants resided and held multiple apartments: (1) Penthouse 5; (2) Apartment

708; (3) Apartment 608; (4) Apartment 509; and (5) Apartment 1361. Evidence recovered during

the search of Penthouse 5, Apartment 608, and Apartment 509 as well as voluntary post-arrest

statements by Taherzadeh, revealed significant facts relevant to the pretrial detention of the

Defendants.

       Penthouse 5

       Law enforcement’s investigation has established that Penthouse 5 was maintained and

controlled by Taherzadeh and Ali, and currently used for the operation of “U.S. Special Police

LLC” (USSP), Taherzadeh’ s company, and storage of relevant equipment and paperwork. During

the execution of the warrant, numerous items of evidentiary value were recovered. For instance,

firearms and ammunition were seized. Specifically, a Glock 19 9mm handgun loaded with 17

rounds of ammunition, including one in the chamber, seven rounds of .308 caliber ammunition,

and an ammunition box with over 35 rounds of handgun ammunition, as depicted in the

photographs below.




                                              3
           Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 4 of 30




       Taherzadeh told law enforcement that the Glock 19 belongs to Ali, but admitted that he has

also possessed it. This is consistent with law enforcement records, which show that on or about

November 18, 2020, Ali purchased a Glock 19 and, the next day, applied for a Firearms

Registration Certificate with MPD. Taherzadeh’s admission that he also possessed the Glock 19

is consistent with three witnesses who observed Taherzadeh illegally carrying a Glock 19 in a

concealed and manner.

       Law enforcement also seized firearm components typically used with long guns or assault

rifles including, among other things: (1) a firearm barrel of an unknown caliber; (2) weapon stock

attachments 1; (3) foregrips 2; (4) pistol grips; (5) a magazine cartridge; and (5) scope(s). In

addition, law enforcement recovered a spotting scope, which can be used in a sniper/spotter team.




       1
          A weapon stock is a part of a long gun that provides structural support, to which the
barrel, action, and firing mechanism are attached.
       2
        A foregrip is a vertical pistol grip mounted on the fore-end of a long-barrel firearm,
designed for grasping by the frontal support hand (or "off hand").



                                                 4
 Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 5 of 30




In addition, the Government discovered multiple firearms safes.




                                        5
         Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 6 of 30




       Law enforcement also seized an Airsoft pistol and brass knuckles.




       Law enforcement recovered numerous electronic devices including, among other things:

(1) a significant quantity of surveillance equipment; (2) approximately 30 hard drives; (3) hard

drive copying equipment; (4) a computer server containing six modules; (5) a machine to create

and program Personal Identification Verification (PIV) cards and blank cards with embedded

chips; (6) a currency counter; (7) several Subscriber Identification Modules (SIM) cards; and (8)

antennas.




                                               6
         Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 7 of 30




       Law enforcement also recovered tactical gear and storage equipment, clothing with police

insignias, police parking placards, a latent fingerprint kit, and equipment for breaching a door,

including a sledgehammer, ram, Halligan tool, lock picking kit and axe.




                                               7
           Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 8 of 30




       With respect to documents, law enforcement seized, among other things: (1) a binder

containing a list of residents, apartment numbers, and contact information; (2) a DHS Procedures

Manual: (3) a Federal Law Enforcement Training Center (FLETC) Manual; (4) Law Enforcement

Use Only documents; (5) immigration documents for a number of individuals 3; (6) a box of

       3
         Law enforcement has not verified the identities of these individuals or their connection
to the Defendants.



                                                8
           Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 9 of 30




documents with profiles of individual people 4; (7) passport photos of what appears to be Ali; (8)

USSP documents; and (9) miscellaneous mail and documents associated with Taherzadeh and Ali.




       4
       Law enforcement has not yet verified the identities of these individuals or whether the
Defendants had law authority to possess the information.



                                                9
        Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 10 of 30




       In one document, an invoice for the Defendants’ Chevrolet Impala, the customer

information is listed as “Secret Service US” with fake and fictious names, such as the “authorizer

name” listed as “Fay Tate” and the “driver name” listed as “James Haider,” an obvious variation

on Haider Ali.




                                               10
        Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 11 of 30




Apartment 708

       Law enforcement’s investigation has established that Apartment 708 was maintained and

controlled by Taherzadeh. During voluntary post-arrest interview, Taherzadeh stated that this

apartment was his residence. During the execution of the warrant, numerous items of evidentiary


                                              11
           Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 12 of 30




value were recovered. For instance, firearms and ammunition were seized. Specifically, law

enforcement seized a Sig Sauer P229 with fives fully loaded magazines, containing a total of 61

rounds. Under Title 18, United States Code Section 922(g)(9), Taherzadeh is prohibited from

possessing a firearm or even single round of ammunition because of his prior conviction for a

misdemeanor crime of domestic violence. 5




       In a voluntary post-arrest interview, Taherzadeh admitted that he owned and possessed the

firearm. This is consistent with records from MPD indicating that Taherzadeh registered the Sig

Sauer P229 on November 16, 2018.

       Law enforcement also discovered two firearms safes in Taherzadeh’s residence. A large

firearm safe containing an Airsoft rifle with a scope, the Sig Sauer handgun and magazine


       5
          On September 2, 2013, in the Arlington Juvenile and Domestic Relations District Court
for Seventeenth Judicial District (Docket Number A-23808-01-V), Taherzadeh pled guilty to
Misdemeanor Assault and Battery on Family Member. According to court documents, the victim
of the assault was TAHERZADEH’s wife. TAHERZADEH was sentenced on October 13, 2013.



                                              12
        Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 13 of 30




described above as well as two boxes of handgun ammunition containing a total of 68 rounds of

ammunition.




       In another firearms safe, law enforcement recovered two Airsoft pistols and holsters.




                                               13
        Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 14 of 30




       In addition, law enforcement seized a significant quantity of Airsoft ammunition.




       Law enforcement also recovered a rifle scope, tactical gear and storage equipment, clothing

and patches with police insignias, handheld radios, a high-end drone, a gas mask, handcuffs, zip

ties, breaching equipment, a cleaning kit for firearms, an ultraviolet flashlight, an RF-GS k18

which is used to locate hidden cameras, microphones and RF transmitters (e.g. vehicle trackers),


                                               14
        Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 15 of 30




computer server with two modules, an encrypted portable hard drive, antennas, and a firearms

holster mounted and hidden under a desk.




                                            15
        Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 16 of 30




       Law enforcement also recovered three current copies of Taherzadeh’s Washington D.C.

driver’s license, passport, United States Special Police – Special Investigations Unit business

cards, a USSP police badge, and several identification and credit cards.       In addition, law

enforcement recovered the business card of a USSS Agent referenced in the complaint affidavit.

Notably, Taherzadeh’s business card is formatted very similarly to the USSS business card.




Apartment 608

       Law enforcement’s investigation has established that Apartment 608 was maintained and

controlled by Ali. Within that apartment law enforcement seized laptops, flash drives, a USSP

badge, and police lights that can be installed in a vehicle.



                                                 16
         Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 17 of 30




Apartment 509

        Law enforcement’s investigation has established that Apartment 509 was maintained and

controlled by Resident 1, who had been given use of the apartment of Taherzadeh. Within that

apartment, law enforcement seized surveillance equipment, handcuffs, mail for Apartment 608,

occupied by Ali, and a key to apartment 708, occupied by Taherzadeh.

                                          Travel Records

        With respect to Ali, law enforcement recovered two passports, the first of which expired

in June of 2020 and a second, issued in October of 2020 with an expiration date in October of

2030.

        Ali’s expired passport contained several visas authorizing foreign travel. For instance, this

passport contained two visas authorizing travel from the Islamic Republic of Iran. The first visa

that allowed entry July 31, 2019 through October 28, 2019 and second visa that allowed entry

from October 28, 2019 through January 25, 2020. The Government has identified at least four

entry/exit stamps from Mashhad International Airport in Mashhad, Razavi Khorasan, Iran.




                                                 17
 Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 18 of 30




Ali’s passport also contained a visa and entry/exit stamps from Iraq in May of 2019.




                                           18
         Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 19 of 30




       In addition, the Ali’s passport contained two thirty-day visas from Pakistan and one visa

for travel to Egypt.




                                              19
           Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 20 of 30




       In addition, United States Customs and Border Protection records indcate that Ali traveled:

(1) through/to Doha, Qatar 6 in November of 2016 and returned approximately 13 days later; (2)

through/to Doha, Qatar in May of 2019 and returned approximately 12 days later 7; (3) through/to

Doha, Qatar in July of 2019 and returned approximately 6 days later; (4) through/to Doha, Qatar

in October of 2019 and returned approximately 9 days later, departing from Istanbul, Turkey. 8

                                        Additional Evidence

       Law enforcement has obtained two videos of Taherzadeh shooting a handgun and assault

rifle at a shooting range believed to be in Northern Virginia. In one video, Taherzadeh appears to

be wearing a long sleeve shirt with a USSS insignia on the arm. Again, Taherzadeh is prohibited

from possessing either of these weapons and the ammunition contained within them.




       6
        Doha International Airport is a major hub frequently used to connect to locations
throughout the middle east.
       7
           This time period corresponds to the entry and exit stamps in Iraq.
       8
        As the Court is aware, the Covid-19 global pandemic started in approximately
January/February 2020, which may explain why there has not been more recent travel.



                                                 20
           Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 21 of 30




       Subquent to his arrest, and as referenced above, Taherzadeh was voluntarily interviewed

by law enforcement. During he course of this interview, Taherzadeh admitted, among other things,

that: (1) he had falsely identified himself as a member of the Department of Homeland Security;

(2) he had falsely identified himself as a former United States Army Ranger; (3) the Sig Sauer 229

firearm belonged to him and was in his possession; (4) the Glock 19 firearm belonged to Ali, but

Taherzadeh had possessed it as well; (5) he offered to provide a USSS agent with an assault rifle;

(6) he provided free apartments to two USSS agents for approximately one year; (7) he had

provided a “doomsday bag,” generator, flat screen television, two iPhones, a drone, a gun locker,

a Pelican case, and a mattress to agents and officers of the USSS; (8) he did in fact shoot someone,

identified in the complaint as Witness 1, with an Airsoft gun. 9; and (9) subsequent to Ali

representing to the Postal Inspector that that Taherzdeh and Ali were part of DHS and then being

questioned by the inspector, Taherzadeh began deleting law enforcement related material from his


       9
         Taherzadeh claimed that this was not part of the DHS recruitment process and that he
allowed the individual to shoot him as well with the Airsoft rifle.



                                                21
           Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 22 of 30




social media. With respect to Ali, Taherzadeh stated that Ali had obtained the electronic access

codes and a list of all of the tenants in the apartment complex. Taherzadeh further stated that Ali

was the individual that funded most of their day-to-day operation but Taherzadeh did not know

the source of the funds.

   III.      Argument

          Pursuant to 18 U.S.C. § 3142(a), when a defendant is arrested, the Court, in relevant part,

“shall issue an order that, pending trial, the person be (1) released on personal recognizance . . . ;

(2) released on a condition or a combination of conditions . . . ; or (4) detained under subsection

(e).” Detaining a defendant under Section 3142(e) requires a hearing “pursuant to the provisions

of subsection (f).” Id. at § 3142(e). The evidence outlined above makes plain that Taherzadeh

and Ali should be detained pending trial.

          A. Bases for Detention Request

          According to Section 3142(f), there are limited circumstances in which the Court “shall

hold a hearing to determine whether any condition or combination of conditions . . . will reasonably

assure the appearance of such person as required and the safety of any other person and the

community.” 18 U.S.C. § 3142(f); see also United States v. Twine, 344 F.3d 987, 987 (9th Cir.

2003). Here, as to Taherzadeh and Ali, subsection (f)(1)(E) applies because this is a case that

involves the possession or use of a firearm, destructive device, or any other dangerous weapon.

As to Ali, subsection (f)(2)(A) applies because this is a case that involves a serious risk of flight.

As to Taherzadeh subsection (f)(2)(B) applies because this is a case that involves a serious risk

that the defendant will obstruct or attempt to obstruct justice. These bases for a detention hearing

are supported by the evidence outlined above.




                                                  22
        Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 23 of 30




       First, this case involves the possession and use of firearms.         Section 3142(f)(1)(E)

mandates a detention hearing in connection with “any felony” if the Government proves by a

preponderance of the evidence that the charged felony “involves the possession or use of a firearm

or destructive device[.]” In determining whether the charged felony “involves the possession or

use of a firearm,” “we may consider the actual conduct at issue in the specific case,” and not just

whether the elements of the charged offenses required the possession or use of a firearm. United

States v. Watkins, 940 F.3d 152, 166 (2d Cir. 2019). Here, in furtherance of their efforts to falsely

impersonate federal law enforcement officers, firearms played a critical role. Taherzadeh and Ali

possessed and carried firearms consistent with those used by law enforcement, namely a Sig Sauer

pistol, owned by Taherzadeh, and then a Glock 19 pistol, owned by Ali. Indeed, as set forth in the

complaint affidavit, a law enforcement witness told Taherzadeh that the USSS was transitioning

from the Sig Sauer 229 to the Glock 19. After being alerted of this change in weaponry,

Taherzadeh saw this witness again and remarked that “we are all transitioning to the Glock 19s in

DHS” and pulled Ali’s Glock 19 from a concealed holster. The fact that Taherzadeh and Ali

changed the firearm they possessed and carried in order to be consistent with federal law

enforcement is strong evidence of the role that firearms played in this offense. In addition, three

witnesses have observed Taherzadeh carrying a firearm both concealed and overt. Indeed, law

enforcement seized two firearms in this case, dozens of rounds of ammunition, as well as parts

used to modify long guns and assault rifles. Accordingly, this case involves the possession and

use of firearms, and Section 3142(f)(1)(E) is an appropriate basis for a detention hearing. 10



       10
          Although not a “firearm” as defined in Title 18, United States Code, 921(a)(3),
Taherzadeh shot an individual with an Airsoft pistol, with Ali present, under the guise that this
was a part of the DHS recruiting process. This conduct displays a reckless disregard for safety
and potential risk of harm to members of the community.



                                                 23
        Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 24 of 30




       Second, with respect to Ali, this case also involves a serious risk of flight as defined in Title

18, United States Code, Section 3142(f)(2)(A). Ali is facing potential conviction on a serious

felony offense that carries statutory maximum penalty of three years’ incarceration. Ali has also

made at least three trips to abroad since 2019 and possesses a valid passport. Significantly, Ali

obtained two 90-day visas from Iran and traveled there twice, not long before the charged activity

began as early as February 2020. Should Ali flee to Iran, the United States would be unable to

extradite him back as there is not currently an extradition treaty between the United States and

Iran. Further, Ali’s passport contained three third-day visas from Pakistan indicating that he has

some contacts in that country, he places of birth. However, it critical that the Court consider that,

although not confirmed by the United States Government, Ali has stated to at least one witness

that he has ties to the Inter-Services Intelligence, the intelligence agency of Pakistan. Until this

claim can be further investigated, and given the nature of Ali’s conduct, specifically impersonating

federal law enforcement in order to ingratiate himself with and infiltrate networks of federal law

enforcement officers and other federal employees, his claim must be taken literally and seriously.

Without fully understanding the full scope of Ali’s conduct, including all of the federal employees

that he may have had contact with and compromised, Ali’s flight from justice could cause

significant damage to our national security. Indeed, should Ali’s claim be true, he would have

significant reason to flee and seek the protection of a “friendly” government. These factors all

combine to give Ali the incentive and a potential means to attempt flee and to evade prosecution.

       Finally, with respect to Taherzadeh, this case also involves a risk of tampering with

witnesses and evidence.     As described above, shortly after the USPIS Inspector began his

investigation and questioned Taherzadeh regarding his criminal conduct falsely impersonating a

DHS officer, Taherzadeh, by his own admission, began deleting his social media posts related to




                                                  24
        Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 25 of 30




law enforcement. In addition, more recently, Taherzadeh was recently, inadvertently made aware

that a federal law enforcement investigation was underway. There is evidence that after this

inadvertent notification, Taherzadeh turned off the location services feature and GPS on his

iPhone, which prevented the USSS agents to whom he provided iPhones from knowing his location

and, therefore, assisting law enforcement. 11 The Government is also concerned that should the

Court allow Taherzadeh to return to his current residence(s) and given that several witnesses

already interviewed live at that address and other witnesses continue to come forward, his presence

could create the risk of witness tampering or intimidation, particularly given knowledge of his

prior possession of firearms.

       Under any of these bases—firearms, flight, and tampering—as applied to the relevant

defendant, detention pending trial is necessary to protect the community, ensure both defendants

return to court, and safeguard the integrity of evidence and the proceedings.

       B. Analysis

       The Court must consider four factors to determine whether pretrial detention is warranted

and necessary: (1) the nature and circumstances of the offense charged, including whether, for

example, the offense is a crime of violence; (2) the weight of the evidence against the defendant;

(3) the history and characteristics of the defendant; and (4) the nature and seriousness of the danger

to any person or the community that would be posed by the defendant’s release. 18 U.S.C.

§ 3142(g). The persuasion burden rests with the government. United States v. Stone, 608 F.3d

939, 945 (6th Cir. 2010). A judicial officer’s finding of dangerousness must be supported by clear

and convincing evidence. 18 U.S.C. § 3142(f); Stone, 608 F.3d at 945. When “risk of flight” is


       11
           Although the Government is not moving to detain Taherzadeh based on risk of flight,
this act does create some concern about flight, but the other two bases for detention are more
compelling and, with at least with respect to Taherzadeh, his risk of flight could be mitigated.



                                                 25
        Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 26 of 30




the basis for detention, however, the government must only satisfy a preponderance of the evidence

standard. United States v. Xulam, 84 F.3d 441, 442 (D.C. Cir. 1996); United States v. Chimurenga,

760 F.2d 400, 405-06 (2d Cir. 1985); United States v. Fortna, 769 F.2d 243, 250 (5th Cir. 1985);

United States v. Orta, 760 F.2d 887, 891 (8th Cir. 1985); United States v. Motamedi, 767 F.2d

1403, 1406 (9th Cir. 1985). An analysis of these four factors weighs heavily in favor of

Taherzadeh and Ali’s detention given the clear and convincing evidence that their release presents

a particular danger to the community as well as the preponderance of evidence that Ali poses a

serious risk of flight and that Taherzadeh poses a risk of obstructing justice.

                     i. Taherzadeh and Ali’s Criminal Involvement was Serious

       The Defendants were not merely playing dress-up; they had firearms, they had

ammunition, they had body armor, they had tactical gear, they had surveillance equipment, and

they were engaged in conduct that represented a serious threat to the community, compromised

the operations of a federal law enforcement agency, and created a potential risk to national security.

See United States v. Munchel, 991 F.3d 1273, 1283 (D.C. Cir. 2021) (“[T]o order a defendant

preventatively detained, a court must identify an articulable threat posed by the defendant to an

individual or the community. The threat need not be of physical violence, and may extend to ‘non-

physical harms such as corrupting a union.’”) (citing United States v. King, 849 F.2d 485, 487 n.2

(11th Cir. 1988)).

       First, the Defendant’s created a public safety risk. As described in greater detail above and

in the complaint affidavit, a key component of the Defendants conduct was the possession of

firearms and law enforcement equipment, creating a risk of physical harm. Indeed, in at least one

instance with firing a weapon at a person. Specifically, the Defendants were involved in shooting

an individual, who believed they were an applicant for a DHS job, with an Airsoft gun. Second,




                                                 26
         Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 27 of 30




the Defendants improperly gained access to tenant information—many of whom were law

enforcement and federal employees—creating a privacy intrusion, and physical access to their

apartments, creating a safety risk. Third, in compromising at least four members of the USSS,

they caused a risk to national security and the functioning of an essential government agency

protecting the nation’s leadership. Because of the nature and circumstances of the Defendants’

conduct, this factor points in favor of detention.

                    ii. The Weight of Evidence Against Taherzadeh and Ali is Strong 12

       The weight of the evidence of dangerousness is immense. As set forth above, the search

warrant recovered: (1) a Glock 19 9mm firearm loaded with 16 rounds of ammunition in the

magazine and an additional round in the chamber; (2) a Sig Sauer 229 firearm with five fully

loaded magazines containing approximately 61 rounds of ammunition; (3) seven rounds of .308

caliber ammunition; (4) an ammunition box with over 35 rounds of handgun ammunition; (5) two

additional boxes of handgun ammunition; (6) components for tactical modifications typically used

on long guns and rifles, including a barrel, a cartridge, weapon stocks, grips, handles and scopes;

(7) three Airsoft pistols; (8) an Airsoft rifle; (9) Airsoft ammunition; (10) a spotting scope; (11)

handcuffs; (12) zip ties; (13) brass knuckles; (14) breaching tools and (15) surveillance equipment.

By Taherzadeh’s own admission he possessed these weapons and in some cases, possessed them

jointly with Ali.

       In addition, and as set forth the complaint affidavit, numerous law enforcement witnesses

stated that Taherzadeh and Ali falsely impersonated federal law enforcement officers and




       12
         “This factor goes to the weight of the evidence of dangerousness, not the weight of the
evidence of the defendant’s guilt.” Stone, 608 F.3d at 948 (citation omitted).



                                                 27
        Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 28 of 30




improperly obtained personal information of apartment residents and access codes to their

apartments. Taherzadeh corroborated these statements during his interview with law enforcement.

       Under these circumstances, only pretrial detention can protect the community from the

danger Taherzadeh and Ali pose.

                 iii. History and Characteristics of Taherzadeh and Ali

       These facts call into question Taherzadeh and Ali’s willingness to comply with release

conditions fashioned by this Court. Separate and apart from the criminal conduct in their False

Impersonation of an Officer of the United States, the Defendants have demonstrated an inability

to comply with law.

       First, Taherzadeh is not permitted to possess a firearm. On July 6, 2013, he was arrested

in Arlington County, Virginia and charged with one count of Strangulation Resulting in Wounding,

a Class 6 Felony and one count of Assault and Battery on a Family Member a Class 1 Misdemeanor

on the person of his wife, M.H. On September 2, 2013, in the Arlington Juvenile and Domestic

Relations District Court for Seventeenth Judicial District (Docket Number A-23808-01-V), the

Felony Strangulation charge was amended to Misdemeanor Assault and Battery on Family

Member, to which Taherzadeh pled guilty. Taherzadeh also pled guilty to the second charge of

Assault and Battery on a Family Member. On October 13, 2013, Taherzadeh was sentenced on

the initial domestic violence charge to twelve (12) months in jail with eleven (11) months

suspended conditioned upon: general good behavior; supervised probation; abuser’s intervention

program and follow all recommendations or domestic violence program ager management

counseling pers probation officer; mental health evaluation and follow all recommendation[s]; pay

restitution of medical expenses within 6 months; pay court costs. As a result of this misdemeanor




                                               28
        Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 29 of 30




domestic violence conviction, pursuant to Title 18, United States Code, Section 922(g)(9) it is

unlawful for Taherzadeh to possess a firearm or even a single round of ammunition.

       It should also be noted that court records indicate that on September 5, 2013, prior to

sentencing, Taherzadeh was arrested in Fairfax County and charged with Assault and Battery on a

Family Member. In this instance, the victim was Taherzadeh’s girlfriend, not his wife.           On

September 25, 2013, Taherzadeh was charged in Fairfax County with violating a protective order.

This conduct evidences an inability to abide by the law and conditions that the Court may impose.

       Second, on or about February 18, 2020, Taherzadeh applied for a concealed weapons

permit and was denied due to his prior history of violence and instability. An individual carrying

a concealed weapon without a registration is in violation of Washington, D.C. firearms laws,

specifically, D.C. Official Code § 22–4504.        Despite this rejection, according at least two

witnesses, Taherzadeh carried a firearm in a concealed manner.

       Third, when confronted by the USPIS Inspector in March 14, 2022, Ali and Taherzadeh

provided false information. Furthermore, documentary evidence shows that the Defendants have

created false and fraudulent identities for purposes of signing documents, including the apartment

leases. Taherzadeh admitted during his voluntary post-arrest interview that he had in fact created

a fictious identity to execute the apartment lease. In addition, as highlighted above, Ali appears to

have also used a false identity in connection with a service for the Chevrolet Impala at Jiffy Lube.

                  iv. Danger to the Community and Risk of Flight

       Finally, for the reasons set forth above Taherzadeh and Ali are a danger to the community.

In addition, Ali’s relevant foreign travel, foreign contacts, and uncorroborated statement of a

connection to a foreign intelligence service make him a significant flight risk.




                                                 29
         Case 1:22-mj-00076-GMH Document 7 Filed 04/08/22 Page 30 of 30




   IV.      Conclusion

         As practiced liars who perpetrated a long-term deception – cooking up entirely fake

personas and positions, elevating themselves with imagined pretensions to be above the law and

above others – they cannot be trusted to return to court, to cease their efforts to obstruct the

investigation, nor to not simply reassemble or use an arsenal similar to the one they built here.

         For the reasons set forth above, Taherzadeh and Ali must be detained pending trial to

protect the safety of the community, ensure both defendants return to court, and safeguard the

integrity of evidence and the proceedings from Taherzadeh further destroying evidence and

obstructing justice.

                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      UNITED STATES ATTORNEY


                                                  By: /s/ Joshua S. Rothstein
                                                     Joshua S. Rothstein
                                                     Assistant United States Attorney
                                                     N.Y. Bar Number 4453759
                                                     555 4th Street, N.W., Room 5828
                                                     Washington, D.C. 20530
                                                     Office: 202-252-7164
                                                     Joshua.Rothstein@usdoj.gov




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